         Case 1:17-cr-00201-ABJ Document 509 Filed 02/13/19 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)


                                              ORDER

       Defendant Paul J. Manafort, Jr. entered a plea of guilty in this case on September 14, 2018.
The plea agreement [Dkt. # 422] provides:

               Your client shall cooperate fully, truthfully, completely, and
               forthrightly with the Government . . . .

Plea Agreement ¶ 8.

         Defendant agreed in paragraph 8(a) of the agreement to be debriefed; in paragraph 8(c) to
testify at any proceedings, and in paragraph 8(f) that he “must at all times give complete, truthful,
and accurate information and testimony, and must not commit, or attempt to commit, any further
crimes.” Paragraph 8 goes on to provide that defendant “shall testify fully, completely and
truthfully before any and all Grand Juries” in the District of Columbia or elsewhere.

       Paragraph 13 – “Breach of Agreement” provides:

               Your client understands and agrees that, if after entering this
               Agreement, [he] fails specifically to perform or to fulfill completely
               each and every one of [his] obligations under this Agreement, or
               engages in any criminal activity prior to sentencing or during his
               cooperation . . . , [he] will have breached this Agreement.

               Should it be judged by the Government in its sole discretion that the
               defendant has failed to cooperate fully, has intentionally given false,
               misleading or incomplete information or testimony, has committed
               or attempted to commit any further crimes, or has otherwise
               violated any provision of this agreement, the defendant will not be
               released from his pleas of guilty but the Government will be released
               from its obligations under the agreement, including (a) not to oppose


                                                 1
         Case 1:17-cr-00201-ABJ Document 509 Filed 02/13/19 Page 2 of 4



               the downward adjustment [to the U.S. Sentencing Guidelines
               calculation] for acceptance of responsibility . . . .

               Your client understands that the Government shall be required to
               prove a breach of this Agreement only by good faith.

        The defendant accepted the plea agreement; the signed acceptance on last page states,
“I fully understand this Agreement and agree to it without reservation. I do this voluntarily and of
my own free will, intending to be legally bound.” After the plea was entered, sentencing was
deferred while the defendant’s cooperation was ongoing.

        On November 26, 2018, the parties informed the Court in a joint status report [Dkt. # 455]
that it was the government’s position that the defendant had breached the plea agreement by
making false statements to the FBI and Office of Special Counsel (“OSC”) and that it was time to
set a sentencing date. The defendant disputed the government’s characterization of the information
he had provided and denied that he had breached the agreement, but he agreed that in light of the
dispute, it was time to proceed to sentencing. Thereafter, the government was ordered to provide
the Court with information concerning the alleged breach, a schedule was established for the
defense to respond, and the following submissions were made a part of the record in the case:

       December 7, 2018       Government’s Submission in Support of its Breach Determination
                              [Dkt. # 461] (Sealed); [Dkt. # 460] (Public)

       January 8, 2019        Defendant’s Response to the Government’s Submission in Support
                              of its Breach Determination [Dkt. # 470] (Sealed); [Dkt. # 472]
                              (Public)

       January 15, 2019       FBI Declaration in Support of the Government’s Breach
                              Determination with accompanying exhibits [Dkt # 477] (Sealed);
                              [Dkt. # 476] (Public)

       January 23, 2019       Defendant’s Reply to the Declaration [Dkt. # 481] (Sealed);
                              [Dkt. # 482] (Public)

      The Court held a sealed hearing on February 4, 2019, and the parties each filed post-hearing
submissions. See Def.’s Post-Hearing Mem. [Dkt. # 502] (Sealed), [Dkt. # 505] (Public);
Government’s Suppl. [Dkt. # 507] (Sealed).

        It is a matter of public record that the Office of Special Counsel has alleged that the
defendant made intentionally false statements to the FBI, the OSC, and/or the grand jury in
connection with five matters: a payment made by Firm A to a law firm to pay a debt owed to the
law firm by defendant Manafort; co-defendant Konstantin Kilimnik’s role in the obstruction of
justice conspiracy; the defendant’s interactions and communications with Kilimnik; another
Department of Justice investigation; and the defendant’s contacts with the current administration
after the election. The parties are agreed that it is the government’s burden to show that there has
been a breach of the plea agreement, but to be relieved of its obligations under the agreement, it
must simply demonstrate that its determination was made in good faith. Plea Agreement ¶ 13.


                                                 2
            Case 1:17-cr-00201-ABJ Document 509 Filed 02/13/19 Page 3 of 4



       In its January 8, 2019 response to the breach allegations, the defense stated that “given the
highly deferential standard that applies to the Government’s determination,” Def.’s Resp. [Dkt.
# 472] at 2, it was not challenging the assertion that the determination was made in good faith.
And, in response to a question posed by the Court at a status hearing held on January 25, 2019, the
defendant conceded that that the determination was made in good faith. Tr. of Hearing (Jan. 25,
2019) [Dkt. # 500] at 13.

        In light of the defendant’s concession, and based upon the Court’s independent review of
entire record, including: all of the pleadings listed above and the supporting exhibits; the facts and
arguments placed on the record at the hearing held on February 4, 2019; and the post-hearing
submissions, the Court ruled at the hearing held on February 13, 2019 that the Office of Special
Counsel made its determination that the defendant made false statements and thereby breached the
plea agreement in good faith. Therefore, the Office of Special Counsel is no longer bound by its
obligations under the plea agreement, including its promise to support a reduction of the offense
level in the calculation of the U.S. Sentencing Guidelines for acceptance of responsibility.

        But that is not the only question before the Court to decide. The question remains whether
the defendant made intentionally false statements in connection with the five matters that have
been identified by the Office of Special Counsel. The answer bears upon the applicability of
certain provisions of the Sentencing Guidelines, in particular, the adjustment for acceptance of
responsibility, and it bears more generally on the Court’s assessment of the factors set forth in the
sentencing statute, 18 U.S.C. § 3553(a). The parties are agreed that the government is bound to
prove facts that bear on the application of the Guidelines by a preponderance of the evidence.

       Based upon its consideration of the entire record and the arguments of counsel at the
hearing of February 4, 2019, for the reasons stated on the record at the continuation of the sealed
hearing on February 13, 2019, the Court made the following additional findings:

       I.       OSC has established by a preponderance of the evidence that defendant
                intentionally made false statements to the FBI, the OSC, and the grand jury
                concerning the payment by Firm A to the law firm, a matter that was material to
                the investigation. See United States v. Moore, 612 F.3d 698, 701 (D.C. Cir. 2010).

       II.      OSC has failed to establish by a preponderance of the evidence that on October 16,
                2018, defendant intentionally made false statements concerning Kilimnik’s role in
                the obstruction of justice conspiracy.

       III.     OSC has established by a preponderance of the evidence that the defendant
                intentionally made multiple false statements to the FBI, the OSC, and the grand
                jury concerning matters that were material to the investigation: his interactions and
                communications with Kilimnik.

       IV.      OSC has established by a preponderance of the evidence that on October 5, 2018,
                the defendant intentionally made false statements that were material to another DOJ
                investigation.




                                                  3
         Case 1:17-cr-00201-ABJ Document 509 Filed 02/13/19 Page 4 of 4



       V.      OSC has failed to establish by a preponderance of the evidence that on October 16,
               2018, defendant intentionally made a false statement concerning his contacts with
               the administration.

       This order does not address the question of whether the defendant will receive credit for his
acceptance of responsibility in connection with the calculation of the Sentencing Guidelines or
how any other Guideline provision will apply to this case. Those issues, which depend on the
consideration of a number of additional factors, will be determined at sentencing, after the
Presentence Investigation Report has been completed, the parties have filed their memoranda in
aid of sentencing, and the Court has heard argument.

       The Court reporter is hereby ORDERED to provide a copy of the sealed transcript of
today’s hearing to the parties by 12:00 noon on February 14, 2019, and the parties must inform the
Court of any redactions that must to be made before the transcript can be released no later than
11:00 a.m. on February 15, 2019.

       SO ORDERED.




                                                     AMY BERMAN JACKSON
                                                     United States District Judge

DATE: February 13, 2019




                                                 4
